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                  Michael Faillace & Associates, P.C.
                                      Employment and Litigation Attorneys

60 E. 42nd Street, Suite 4510                                                     Telephone: (212) 317-1200
New York, New York 10165                                                           Facsimile: (212) 317-1620
_________
gnaydenskiy@faillacelaw.com

                                                                            September 27, 2019



BY ECF
Hon. Roanne L. Mann
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                                Re:       Guzman v. Kam Fung Wong Inc. et al
                                          Case: 18-cv-6998

        Your Honor:

       In accordance with Your Honor’s Orders. Please find attached as Exhibit A, the executed
revised agreement that the parties respectfully request Your Honor approve.

        We thank The Court for its attention to this matter.




                                                  Respectfully Submitted,

                                                   /s/Gennadiy Naydenskiy, Esq.
                                                   Gennadiy Naydenskiy, Esq.
                                                   MICHAEL FAILLACE & ASSOCIATES, P.C.
                                                   Attorneys for Plaintiffs

cc:     Defendants (By ecf)
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EXHIBIT A
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  UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


    MIGUEL A. GUZMAN,individually and                             18-CV-06998-MKB-RLM
    on behalfofothers similarly situated,
                                                           SETTLEMENT AGREEMENT AND
                               Plaintiff,                                 RELEASE

                   -against-


     KAM FUNG WONG INC.(D/B/A KAM FUNG
     WONG POULTRY),NEW PHOENIX
     DISTRIBUTOR INC.(D/B/A KAM FUNG
     WONG POULTRY), AM LE CHANG,HENRY
     DOE, MICHELLE DOE,and ABRAHAM DOE,

                           Defendants.



         This Settlement Agreement and Release of Claims("Agreement") is entered into by and
 among Plaintiff Miguel A Guzman ("Plaintiff Guzman")on the one hand, Kam Fung Wong Inc.
 (d/b/a Kam Fung Wong Poultry) and New Phoenix Distributor Inc.(d/b/a Kam Fung Wong
 Poultry),("Defendant Corporation"), Am Le Chang, Henry Chang, Michelle Doe,and Abraham
 Doe,("Individual Defendant"),(collectively,"Defendants"), on the other hand.

         WHEREAS,Plaintiff Guzman alleges that he worked for Defendants as an employee;
  and


         WHEREAS,a dispute has arisen regarding Plaintiff Guzman's alleged employment and
  the terms thereof, which dispute has resulted in the filing of an action in the United States
  District Court for the Eastern District of New York, Civil Action No: 18-CV-06998-MKB-RLM
 (hereinafter "the Litigation"), alleging, among other things, a violation offederal and state wage
  and hour and overtime laws;

         WHEREAS, Defendants deny any violation of federal and state wage and hour and
  overtime laws; and

          WHEREAS,the parties desire to resolve all disputes between them without the necessity
  offurther litigation;

         NOW, THEREFORE, in consideration of the mutual covenants and promises herein
  contained and other good and valuable consideration, receipt of which is hereby acknowledged, it
  is hereby agreed as follows:

         1. Pavment: Defendants shall pay or cause to be paid to Plaintiff Guzman,subject to the terms
  and conditions ofthis Agreement, and as full, complete, and final settlement and final satisfaction
  of any and all claims or potential claims Plaintiff Guzman may have against Defendants through

                                                   1
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 the Effective Date ofthis Agreement(i.e.,the date when the Court enters an order approving the settlement
 and dismissing the case with prejudice), including all counsel fees and costs incurred by Plaintiff Guzman,
 the gross sum of Twenty-Seven Thousand Five Hundred Dollars and No Cents ($27,500.00) (the
 "Settlement Amount") to be paid to Plaintiff Guzman's attorneys in Eleven ("11") installments, as
 follows:
        (a)      Installment One:
                 (i) The first payment shall be made no later than 30 days after court approval of the
        settlement agreement and dismissal of this action with prejudice via two checks to Plaintiff
        Guzman,the first in the amount of One Thousand Nine Hundred Forty Seven Dollars and Six
        Cents ($1,947.06), which shall be reportable on an IRS Form 1099 and a second check in the
        amount of One Thousand Nine Hundred Forty Seven Dollars and Six Cents($1,947.06)subject
        to all lawful tax withholdings, which shall be reportable on an IRS Form W-2. These checks
        shall be delivered to Plaintiff Guzman's counsel.

                (ii)A check in the amount ofTwo Thousand One Hundred and Five Dollars and Eighty
        Eight Cents($2,105.88) made payable to Michael A. Faillace & Associates,PC,for attomey's
        fees and costs incurred. This payment shall be also made no later than 30 days after court
        approval ofthe settlement agreement and dismissal ofthis action with prejudice.

        (b)      Installment Two:
                (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
        Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
        and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
        Dollars and Seventy Cents ($697.70) subject to all tax withholdings, which shall be reportable
        on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
        counsel within Sixty Days (60) after court approval of the settlement agreement and
        dismissal ofthe action with prejudice.

                (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
        made payable to Michael A. Faillace & Associates, PC,for attorney's fees and costs incurred. This
        payment shall be also made no later than 60 days after court approval ofthe settlement agreement
        and dismissal ofthis action with prejudice

        (c)      Installment Three:
                (i) A check made payable to Plaintiff Guzman in the amount of Sk Hundred Ninety
        Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
        and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
        Dollars and Seventy Cents ($697.70)subject to all tax withholdings, which shall be reportable
        on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
        counsel within Ninety Days (90) after court approval of the settlement agreement and
        dismissal ofthe action with prejudice.

               (ii) A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
        made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
        payment shall be also made no later than 90 days after court approval ofthe settlement agreement
        and dismissal ofthis action with prejudice.

        (d)      Installment Four:
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              (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
      Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
      and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
      Dollars and Seventy Cents($697.70) subject to all tax withholdings, which shall be reportable
      on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
      counsel within One Hundred and Twenty Days(120)after court approval ofthe settlement
      agreement and dismissal of the action with prejudice.

             (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
      made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
      payment shall be also made no later than 120 days after court approval of the settlement
      agreement and dismissal ofthis action with prejudice.

      (e)      Installment Five:
              (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
      Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
      and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
      Dollars and Seventy Cents ($697.70)subject to all tax withholdings, which shall be reportable
      on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
      counsel within One Hundred and Fifty Days (150) after court approval of the settlement
      agreement and dismissal of the action with prejudice.

              (ii)A check in the amount ofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
      made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
      payment shall be also made no later than 150 days after court approval of the settlement
      agreement and dismissal ofthis action with prejudice.

      (f)      Installment Six:
              (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
      Seven Dollars and Sbcty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
      and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
      Dollars and Seventy Cents($697.70) subject to all tax withholdings, which shall be reportable
      on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
      counsel within One Hundred and Eighty Days(180)after court approval of the settlement
      agreement and dismissal ofthe action with prejudice.

              (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sbdy One Cents($754.61)
       made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
       payment shall be also made no later than 180 days after court approval of the settlement
       agreement and dismissal ofthis action with prejudice.

      (g)      Installment Seven:
               (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
       Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
       and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
       Dollars and Seventy Cents ($697.70) subject to all tax withholdings, which shall be reportable
       on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
       counsel within Two Hundred and Ten Days (210) after court approval of the settlement
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      agreement and dismissal ofthe action with prejudice.


              (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
      made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
      payment shall be also made no later than 210 days after court approval of the settlement
      agreement and dismissal ofthis action with prejudice.

      (h)      Installment Eight:
              (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
      Seven Dollars and Sixty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
      and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
      Dollars and Seventy Cents ($697.70) subject to all tax withholdings, which shall be reportable
      on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
      counsel within Two Hundred and Forty Days(240) after court approval of the settlement
      agreement and dismissal ofthe action with prejudice.

              (ii)A check in the amount ofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
      made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
      payment shall be also made no later than 240 days after court approval of the settlement
      agreement and dismissal ofthis action with prejudice.

      (i)      Installment Nine:
              (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
      Seven Dollars and Sbcty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
      and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
      Dollars and Seventy Cents ($697.70)subject to all tax withholdings, which shall be reportable
      on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
      counsel within Two Hundred and Seventy Days(270)after court approval ofthe settlement
      agreement and dismissal ofthe action with prejudice.

              (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
       made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred This
       payment shall be also made no later than 270 days after court approval of the settlement
       agreement and dismissal ofthis action with prejudice.

      0         Installment Ten:
               (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
       Seven Dollars and Sbcty Nine Cents($697.69), which shall be reportable on an IRS Form 1099
       and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
       Dollars and Seventy Cents ($697.70) subject to all tax withholdings, which shall be reportable
       on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
       counsel within Three Hundred Days(300)after court approval ofthe settlement agreement
       and dismissal ofthe action with prejudice.

              (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
       made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
       payment shall be also made no later than 300 days after court approval of the settlement
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        agreement and dismissal ofthis action with prejudice.

        (k)       Installment Eleven:

                (i) A check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety
        Seven Dollars and Sixty Nine Cents($697,69), which shall be reportable on an IRS Form 1099
        and a check made payable to Plaintiff Guzman in the amount of Six Hundred Ninety Seven
        Dollars and Seventy Cents($697.70)subject to all tax withholdings, which shall be reportable
        on an IRS Form W-2. These checks These checks shall be delivered to Plaintiff Guzman's
        counsel within Three Hundred and Thirty Days(330)after court approval ofthe settlement
        agreement and dismissal ofthe action with prejudice.


                 (ii)A check in the amountofSeven Hundred Fifty Four Dollars and Sixty One Cents($754.61)
         made payable to Michael A. Faillace & Associates, PC,for attomey's fees and costs incurred. This
         payment shall be also made no later than 330 days after court approval ofthe settlement agreement and
         dismissal ofthis action with prejudice.

         In the event that the Defendants fail to make any of the installment payments as set forth
 above, i.e., one of the checks is not delivered to Guzman's counsel's escrow account and (ii)
 Defendants fail to cure such default within ten (10) business days of receipt of written notice of
 breach (to be delivered to Defendants by first class mail via their counsel, Michael Taubenfeld,
 Esq., at 225 Broadway Suite 1700, New York, NY 10007). Any such Notice of Default shall be
 deemed received five(5)days after it is mailed.


         2.     (a)Plaintiff acknowledges and agrees that, except as expressly provided above, he
 is not entitled to and will not receive any additional compensation, bonuses, severance payments,
 vacation pay or benefits of any kind from Defendants, or any of their affiliates, predecessors or
 successors, and that no representations or promises to the contrary have been made by or on behalf
 of Defendants to Plaintiff.

              (b)Plaintiff acknowledges and agrees that payments made to him pursuant to this
 Agreement must be reported to the Internal Revenue Service(as well as state and local authorities,
 where applicable) via IRS Tax Form 1099, W-2, or other forms. Plaintiff expressly acknowledges
 and warrants that, he is, and shall be, responsible for all federal, state and local tax liabilities which
  may result from Defendants' payments to him and warrants that Defendants bear no responsibility
 for any such tax liabilities.

                (c) Plaintiff further agrees :(a) to indemnify and hold Defendants harmless in the
 event that they are assessed with any taxes, fines, penalties, or interest by the IRS (or any state or
 local authority) relating to the Settlement Sum because ofPlaintiffs failure to pay taxes, including
 any costs and attorneys' fees; and (b)that should any tax liability arise or accrue, he will pay any
 and all such finally determined obligations as required by law

         3.      Release and Covenant Not To Sue: Plaintiff Guzman hereby irrevocably and
  unconditionally releases from and forever discharges and covenant not to sue Defendants, and for
  each of them, their heirs, successors, assigns, affiliates, parent organizations, subsidiaries.
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 directors, owners, shareholders, members, agents, attorneys, legal representatives and managers
 in their respective capacities as such any and all FLSA and NYLL wage and hour charges,
 complaints, claims, causes of action, suits, debts, liens, contracts, rights, demands, controversies,
 losses, costs and or expenses, including legal fees and any other liabilities, known or unknown,
 suspected or unsuspected, whether fixed or contingent (hereinafter referred to as "claim" or
 "claims") which Plaintiff Guzman at any time has, had, claims or claimed to have against
 Defendants relating specifically to FLSA and NYLL claims that have occurred as of the Effective
 Date of this Agreement. , Defendants release and discharge Plaintiff Guzman from any and all
 known claims, and liabilities of any kind that they have, had or claimed to have against Plaintiff
 Guzman that have occurred as ofthe Effective Date ofthis Agreement.

        4.      No Admission of Wrongdoing: This Agreement and compliance with this
 Agreement shall not be construed as an admission by Defendants of any liability whatsoever, or
 of any violation ofany statute, regulation, duty, contract, right or order.

       5.       Modification of the Agreement: This Agreement may not be changed unless the
 changes are in writing and signed by a proper representative of Plaintiff Guzman and Defendants.

        6.      Acknowledgments: Plaintiff and Defendants acknowledge that they are not
 relying upon any statement, representation or promise in executing this Agreement except for
 statements, representations or promises expressly set forth in this Agreement. They further
 acknowledge and agree that the only consideration for signing this Agreement is as set forth in this
 Agreement.

        7.    Notices:         Notices required under this Agreement shall be in writing and shall
 be deemed given on the first business day following first-class mailing and electronic transmission
 thereof. Notice hereunder shall be delivered to:



         To Plaintiff Guzman:


         Michael Faillace, Esq.
        Michael Faillace & Associates,P.C.
        60 East 42"'' St. Suite 4510
        New York, NY 10165
        Tel:(212)317-1200
        Fax:(212)317-1620
        Email: michael@faillacelaw.com

         To Defendants:


         Michael Taubenfeld
         Fisher Taubenfeld LLP
         225 Broadway Suite 1700
         New York, NY 10007
         Tel: 212-571-0700
         Fax:212-505-2001
         Email: michael@fishertaubenfeld.com
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        8.      Governing Law: This Agreement shall be governed by, and interpreted in
 accordance with, the laws of the State of New York, excluding the conflict-of-laws principles
 thereof. The parties consent and stipulate to the personal jurisdiction ofthe United States District
 Court for the Eastern District of New York.
        THE RETAINING OF JURISDICTION BY THE UNITED STATES
 DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK IS A
 MATERIAL TERM OF THIS AGREEMENT. IF THE UNITED STATES
 DISTRICT COURT FOR THE EASTERN DISTRICT OF NEW YORK
 CHOOSES TO NOT RETAIN JURISDICTION THEN THIS AGREEMENT
 IS NULL AND VOID.

        9.       Enforceabilitv: If any provision of this Agreement is held to be illegal, void, or
 unenforceable, such provision shall be of no force or effect. However, the illegality or
 unenforceability of such provision shall have no effect upon, and shall not impair the legality or
 enforceability of, any other provision ofthis Agreement, provided, however,that upon any finding
 by a court of competent jurisdiction that a release or waiver of claims or rights or a covenant set
 forth herein is illegal, void or unenforceable. Plaintiff Guzman agrees to promptly execute a
 release, waiver and/or covenant that is legal and enforceable.

        10.     Release Notification: Defendants advised Plaintiff to discuss the terms of this
 Agreement and release of claims with his legal counsel and Plaintiff acknowledges that he has
 consulted with Michael Faillace, Esq. of Michael Faillace & Associates, P.C. Plaintiff Guzman
 acknowledges that it is his choice to waive any potential claims in return for the benefits set forth
 herein and that he made this decision after careful thought and a reasonable period of time to
 consider this Agreement, and after an opportunity to consult with his attorneys. Plaintiff Guzman
 confirms that this Settlement Agreement and Release has been translated to him in Spanish and
 that he understands the terms ofthis Agreement and that he is signing this Agreement voluntarily.

         11.    Severabilitv. If any court of competentjurisdiction concludes that any part, term
 or provision of this Agreement is illegal, void, unenforceable or in conflict with any state, federal
 or any other applicable law,it is the Parties' intention that the Agreement be deemed to be modified
 so that its purpose can lawfully be effectuated and, as so modified, the balance of this Agreement
 shall be enforceable and remain in full force and effect. Provided, however, that if paragraph 3
 above is held to be illegal, void or unenforceable, Parties agree to promptly execute valid releases
 limited to FLSA and NYLL claims and waivers in favor of each other.

         12.     Successors and Assigns. This Agreement shall extend to, be binding upon, and
 inure to the benefit of the Parties and their respective successors and assigns.

        13.    Assignment. Neither this Agreement nor any rights or obligations hereunder may
 be assigned by one Party without the written consent of the others, except that Defendants may
 assign this Agreement to any parent or affiliate entity, and this Agreement shall inure to the benefit
 ofany successor of Defendants, whether by merger, consolidation, sale of assets or otherwise, and
 reference herein to Defendants shall be deemed to include any such successor or successors.
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             14.     Waiver. No waiver ofany breach of any term or provision of this Agreement shall
      be construed to be, nor shall be, a waiver of any other breach of this Agreement. No waiver shall
      be binding unless in writing and signed by the Party waiving the breach.

             15.     Headings. All headings of the Sections of this Agreement have been inserted for
      convenience of reference only, are not to be considered a part of this Agreement, and shall in no
      way affect the interpretation of any ofthe provisions ofthis Agreement.

              16.    Miscellaneous Provisions.

                     a.     The recitals to this Agreement are hereby deemed incorporated into this
                            Agreement.

                     b.     Each of the Parties hereto has joined in and contributed to drafting this
                            Agreement and each of the Parties hereby agree that there shall be no
                            presumption favoring any ofthe Settling Parties based upon draftsmanship.


             17.     Counterparts: To signify their agreement to the terms of this Agreement and
      Release, the parties have executed this Agreement on the date set forth opposite their signatures,
      which appear below. This Agreement may be executed in two or more counterparts and each of
      such counterparts, for all purposes, shall be deemed to be an original but all of such counterparts
      together shall constitute but one and the same instrument, binding upon all parties hereto,
      notwithstanding that all of such parties may not have executed the same counterpart. This
      agreement may also be executed by facsimile transmission.



      PLAINTIFF:




      By:
             Miguel A Guzman                                             Sep 26,2019
             MIGUEL A GUZMAN




      DEFENDANTS:



      By:                                                           Date:
             KAM FUNG WONG INC.




      By:                                                           Date:
              AM LE CHANG


      By:                                                           Date:
              HENRY CHANG


        .

ignature:
f   Email:
